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EXHIBIT U

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Allegheny County Prison
incident Report
Pittsburgh, PA 15219

Who is involved? New Court, John orlando, Sgt. Haburjak, Ofc. Faherty, Ofc. Mullen, Ofc. Bonenberger,
Ofc. Caito and RN Trish_?_

When did the incident Occur? Date: 3-24~2016 Time: At or around 10:15pm or 22:15 hrs.
Where did it happen? intake Department of A|legheny County Prison.

What happened? New Court, .lohn Orlando, was brought into the Sa||y Port entrance by Police. lie was
being non-compiiant, refusing to comply with pat down search. At this time, New Court, john Oriando
was placed into the restraint chair, where he continued to threaten and scream at officers RN-Trish,
began to ask iohn Orlando his medical intake screen, where he then started to rambie off all of his
medical/mental health medications. Once .lohn Orlando stated that he was on a Fentany| patch, RN-
Trish, located it on John orlando’s Right shoulder and removed it. My observation after John Oriando
was placed in cell 9 was that his recent ‘eating of methamphetamine and ali his other Rx, such as
Fentanyl, Xanax and Klonopin were attributing to his behavior at the time. This writer continued to
attempt engaging with john Orlando to try to calm him down so that he may be released from the chair.
i-le did not calm down, his thoughts were fragmented, his speech continued to be pressured. His
behavior could best be classified as Manlc with Psychosis related to his drug abuse/Rx.

i'his writer ran new Court in the MH Database, CiPS, discovering his long, Mi-l History. This writer
deemed him eligible for JRS services and created a Referra| for him, noting his charges, and MH Hx. New
court, .lohn Oriando continued to behave erraticaliy, even reciting the restraint chair violently for what it
appeared out of its place. His restraints were checked as part of protoco|.

This writer attempted many times throughout the evening and into the morning to calm/soothe new
court so that he might have an opportunity to leave the chair. He continued to be defiant with no
slowing down. This writer learned that this new court was now an lnmate, even seeing that his JRS
Referral had been accepted. This writer went to go upstairs on SF to inform inmate that his Referrai had

been accepted, only learning that john Orlando had hung himself in his celi. This was extremely sad that
he committed this act.

Witnesses: Most if not all Officers in the intake Department as well as the Captain Terry, who were all
present when media were called for the man in a suicide gown having a seizure in ceii 10.

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